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SEALED                     IN THE UNITED STATES DISTRICT COURT
                                                                                     r

                            FOR THE WESTERN DISTRICT OF TEXAS
                                                                                    LJLL I O LU
                                   SAN ANTONIO DIVISION

  UNITED STATES OF AMERICA,

                    Plaintiff,

   V.                                                  Count 1: 18 U.S.C. § 371:
                                                                 Conspiracy to Defraud the
 CHRISTOPHER FELIX MONTOYA, (1),                                 United States and to Pay and
 and                                                             Receive Health Care
 NANCY ALMAGUER, (2)                                             Kickbacks
                    Defendants.                        Counts 2-4: 42 U.S.C. § 1320a-7b (b)(1):
                                                                 Soliciting and Receiving
                                                                 Illegal Health Care
                                                                 Kickbacks.

                                            INDICTMENT
The Grand Jury charges:

                                          General Allegations
At all times material to this Indictment, unless otherwise specified:

                                  The Defendants and Related Entities

        1.        Defendant Christopher Felix MONTOYA was a resident of San Antonio, Texas,

and a licensed physician's assistant. MONTOYA was the registered owner and operator of two

medical offices, both named TPC Family Medicine and Urgent Care ("TPC clinics"). One of the

TPC clinics was located in San Antonio, Texas, with the other in Laredo, Texas. The TPC clinics

were registered providers with Medicare and Medicaid.

        2.        Defendant Nancy ALMAGUER, was a resident of San Antonio, Texas, and an

employee at the TPC clinics. As of May 25, 2018, ALMAGUER was listed as the Chief Operating

Officer of the TPC clinics.




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                                      The Medicare Program
        3.        The Medicare Program ("Medicare") was a federally funded and administered

healthcare program providing benefits to individuals who were sixty-five    (65)   years of age or

older, or disabled. The program was administrated through the Centers for Medicare and Medicaid

Services ("CMS"), a federal agency within the United States Department of Health and Human

Services. Medicare was paid for primarily through federal income and payroll taxes. This program

is referred to collectively herein as "Medicare". Medicare was a "healthcare benefit program" as

defined by Title 18, United States Code, Section 24(b).

        4.       Medicare was subdivided into multiple Parts. Medicare Part A covered health

services provided by hospitals, skilled nursing facilities, hospices, and home health agencies.

Medicare Part B covered physician services and outpatient care. Parts A and B were known as the

"original fee-for-service" Medicare program, in which Medicare paid health care providers fees

for services rendered to beneficiaries.

        5.       Individuals who qualified for Medicare benefits were commonly referred to as

Medicare "beneficiaries." Each beneficiary was given a unique Medicare identification number

that was used to process bills linked to that beneficiary.

        6.       Medicare paid for reasonable and necessary medical services provided to

individuals and families who are deemed eligible. Medical service providers were required to be

registered with Medicare in order to receive reimbursements. Healthcare providers that provided

services to Medicare beneficiaries were referred to as Medicare "providers." Service providers

enrolled with Medicare received a unique provider number with which to identify themselves when

submitting Medicare claims.

       7.        To participate in Medicare, providers were required to submit an application in

which they agreed to comply with all Medicare-related laws and regulations. Per the provider

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 agreement with Medicare, providers had a duty to become educated with and knowledgeable of

 the contents and procedures of the Medicare program. Providers were given access to Medicare

 manuals and service bulletins describing billing procedures, rules, and regulations.

         8.       The Federal Anti-Kickback Statute was a law prohibiting service providers from

paying or receiving remuneration of any kind in return for inducing the referral of a patient or

 service being paid for by Medicare funds. To receive Medicare funds, enrolled providers agreed

to, and were required to abide by, the Anti-Kickback Statute and other laws and regulations.

         9.       To receive payment from Medicare, providers submitted or caused the submission

of claims to Medicare, either directly or through a billing company. When submitting, or causing

claims to be submitted, under the provider's unique personal identification number, a provider was

certifring that the services were properly rendered and were medically necessary. Medicare paid

claims submitted by providers through automatic deposits and by checks issued to the provider.

        10.       A Medicare claim for reimbursement was required to set forth, among other things,

the beneficiary's name and unique Medicare identification number, the service provided to the

beneficiary, the date the service was provided, the cost of the service, and the name and unique

provider identification number of the physician or health service provider who prescribed or

ordered the service.

        11.       MONTOYA was an enrolled Medicare provider.               TPC and MONTOYA

collectively operated under three separate National Provider Index numbers, with MONTOYA

being listed as the authorized official for each of these numbers.




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                                            COUNT ONE
                             Conspiracy to Defraud the United States and to
                               Pay and Receive Health Care Kickbacks
                                            (18 U.S.C. § 371)

         12.     Paragraphs One through Eleven of this Indictment are realleged and incorporated

 by reference as though fully set forth herein.

         13.     From in or about September of 2018, through in or about June of 2019, in the

 Western District of Texas, and elsewhere, the Defendants,

                              CHRISTOPHER FELIX MONTOYA, (1),
                                  and NANCY ALMAGUER, (2),

 did knowingly and    willfully   combine, conspire, confederate and agree together and with others,

known and unknown to the Grand Jury, to commit certain offenses against the United States, that

is,

                 a.     to defraud the United States by impairing, impeding, obstructing, and

defeating through deceitful and dishonest means, the lawful government functions of the United

States and in its administration and oversight of Medicare;

                b.      to violate Title 42, United States Code, Section 1320a-7b(b)(1), by

knowingly and willfully soliciting and receiving remuneration, specifically, kickbacks and bribes,

directly and indirectly, overtly and covertly, in return for referring individuals and services for the

furnishing and arranging for the furnishing of any item and service for which payment may be

made in whole or in part by Medicare; and for the purchasing, leasing, ordering and arranging for

and recommending the purchasing, leasing and ordering of any good, item, and service for which

payment may be made in whole and in part by a Federal health care program, that is, Medicare.

                c.     to violate Title 42, United States Code, Section 1320a-7b(b)(2), by

knowingly and    willfully   offering and paying remuneration, specifically, kickbacks and bribes,

directly and indirectly, overtly and covertly, in return for referring individuals for the furnishing

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 and arranging for the furnishing of any item and service for which payment may be made in whole

 or in part by Medicare; and for the purchasing, leasing, ordering and arranging for and

 recommending the purchasing, leasing and ordering of any good, item and service for which

 payment may be made in whole and in part by a Federal health care program, that is, Medicare.

                                     Purpose of the Conspiracy
         14.       It was a purpose of the conspiracy for defendants MONTOYA and ALMAGUER

 along with others known and unknown to the Grand Jury, to unlawfully enrich themselves and

 others by paying and receiving kickbacks and bribes in exchange for sending patient nasal swabs

to a specific laboratory for testing, at least some of which was billed to the Medicare program.

                               Manner and Means of the Conspiracy

        15.        The maimer and means by which MONTOYA, ALMAGUER, and others sought to

accomplish the purpose and object of the conspiracy included, among other things, the following:

        16.       MONTOYA and ALMAGUER operated the TPC clinics to achieve the objective

of    the       scheme    to   defraud:    to   unlawfully    enrich      themselves   and    their

co-conspirators by agreeing to perform nasal swab procedures on patients, and sending those

swabs for testing to a specific San Antonio area laboratory (the "Lab") in exchange for kickbacks

and bribes on claims submitted to federal health care benefit programs.

        17.       Beginning in or about September 2018, an individual cooperating with the Federal

Bureau of Investigation (the "CW") informed MONTOYA and ALMAGUER that he/she was able

to receive illegal kickback payments through the Lab.        The CW stated to MONTOYA and

ALMAGUER that the Lab was able to be reimbursed by Medicare for performing virus screenings

on nasal swabs from patients, and that the CW would be paid on a per test basis for every swab

directed to the Lab. The CW offered to pay MONTOYA and ALMAGUER part of the kickback



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 he/she received, if MONTOYA and ALMAGUER agreed to swab patients at the TPC clinics and

 send the swabs to the Lab for testing.

         18.     MONTOYA and ALMAGUER agreed to this arrangement and thereafter began

 directing employees at the TPC clinics to perform the requested nasal swabs. Once the swabs were

 performed, they would be sent to the Lab.        The Lab would perform the testing, receive

 reimbursement from Medicare and other insurance programs, and then pay the CW. The CW

 would then in turn pay MONTOYA and ALMAGUER.

         19.     To conceal the illegal kickbacks and bribes, MONTOYA, ALMAGUER, and the

CW arranged for the payments to be made entirely in cash, and did not enter into any formal

employment or business contracts with the CW.

         20.     During consensually recorded telephone calls, text messages, and in-person

meetings, MONTOYA, ALMAGUER, and the CW discussed the manner in which they would

conduct this scheme including; different possibilities for how to disguise the payments from the

CW to MONTOYA and ALMAGUER, directing TPC employees to perform as many swabs as

possible, the exact percentage of the CW' s kickback that MONTOYA and ALMAGUER would

receive, and the method by which the co-conspirators would keep track of how many swabs

MONTOYA and ALMAGUER should be paid for.

        21.     From in or about September of 2018, to in or about June of 2019, MONTOYA and

ALMAGUER did in fact send nasal swabs from the TPC Clinics to the Lab for testing, ultimately

resulting in public and private insurance billing in the amount of approximately Eighty-Thousand

($80,000) Dollars. Of this total, approximately Forty-Seven Thousand ($47,000) Dollars were

billed to Medicare.




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                                              Overt Acts
         22.       In furtherance of the conspiracy, and to accomplish its object and purpose, the

 conspirators committed and caused to be committed, in the Western District of Texas, and

 elsewhere, the following overt acts:

                   a.    In or around September of 2018, MONTOYA, ALMAGUER, and the CW

         met at the TPC Clinic in San Antonio, Texas, and agreed to engage in the kickback

         conspiracy.

                  b.     From in or around October of 2018, to in or around June of 2019,

         MONTOYA and ALMAGUER performed, and directed to be performed, nasal swabs of

         TPC clinic patients and sent the swabs to the Lab for testing.

                  c.     From in or around October of 2018, to in or around June of 2019,

        MONTOYA and ALMAGUER kept and reviewed records of which patients had been

        swabbed, and whether their testing had been performed, for the purpose of determining the

        amount of kickback that they should be paid.

                  d.     In or around December of 2018, MONTOYA and ALMAGUER met with

        the CW in San Antonio, Texas, and were paid a kickback payment of approximately

        $1,178.

                  e.     In or around January of 2019, ALMAGUER met with the CW in San

        Antonio, Texas, and was paid a kickback payment of approximately $2,038.

                f.      In or around February of 2019, MONTOYA met with the CW in San

        Antonio, Texas, and was paid a kickback payment of approximately $1,918.

                g.      In or around March of 2019, ALMAGUER met with the CW in San

        Antonio, Texas, and was paid a kickback payment of approximately $2,614.



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                  h.      In or around April of 2019, MONTOYA met with the CW in San Antonio,

        Texas, and was paid a kickback payment of approximately $1,234.

                  i.      In or around June of 2019, MONTOYA met with the CW in San Antonio,

        Texas and was paid a kickback payment of approximately $316.

 All in violation of Title 18, United States Code, Section 371.



                                       COUNTS TWO FOUR
                       Soliciting and Receiving Illegal Health Care Kickbacks.
                                     (42 U.S.C. § 1320a-7b(b)(1))

        23.      Paragraphs One through Twenty-Two of this Indictment are realleged and

incorporated by reference as though fully set forth herein.

        24.      From in or around October of 2018, to in or around June of 2019, in the Western

District of Texas, the Defendants,

                             CHRISTOPHER FELIX MONTOYA, (1),
                                and NANCY ALMAGUER, (2),

        knowingly and willfully, solicited and received any remuneration (including any kickback,

bribe, or rebate) directly or indirectly, overtly or covertly, in cash or in kind, from the CW in return

for referring patient nasal swab testing to the Lab for which payment would be made in whole or

in part by the Federal health care program Medicare, including, but not limited to, the following

dates and amounts:

         Count                        Date                        Amount
         2                            12/10/18                    $1,178.60

         3                            1/23/19                     $2,038.54
         4                            2/11/19                     $1,918.25


All in violation of Title 42, United States Code Section 1320a-7b(b)(1).

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                         Notice of United States of America's Demand for Forfeiture
                                         jSee Fed. R. Crim. P. 32.21


                                                      I.

                            Health Care Fraud Violations and Forfeiture Statute
                          [Title 18 U.S.C. 371 and Title 42 U.S.C. § 1320a-7b(b)(1),
                         subject to forfeiture pursuant to Title 18 U.S.C. 982(a)(7)J

          This Notice of Demand for Forfeiture includes but is not limited to the property described

 below.

          25.        As a result of the foregoing criminal violations set forth in Counts One to Four,

 the United States of America gives notice to Defendants Christopher Felix MONTOYA and Nancy

 ALMAGUER of its intent to seek the forfeiture of any forfeitable property upon conviction and as

part of sentencing pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 982(a)(7), which states:

          (a)(7) The court, in imposing sentence on a person convicted of a Federal health
          care offense, shall order the person to forfeit property, real or personal, that
          constitutes or is derived, directly or indirectly, from gross proceeds traceable to the
          commission of the offense.

                                                   II.
                                             Money Jud2ment
          Money Judgment: An amount of money which represents the proceeds obtained
          directly or indirectly as a result of the violations set forth above for which
          Defendant is liable.

                                                   III.
                                             Substitute Assets

          If any of the property described above as being subject to forfeiture for the violations set

forth above, as a result of any act or omission of the Defendant:

        a.         cannot be located upon the exercise of due diligence;
        b.         has been transferred or sold to, or deposited with, a third party;
        c.         has been placed beyond the jurisdiction of the court;
        d.         has been substantially diminished in value; or
        e.         has been commingled with other property which cannot be divided without
                   difficulty;



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it is the intent of the United States of America to seek forfeiture of any other property of the

Defendant, up to the value of said money judgment, as substitute assets pursuant to Title 21   U.s.c.

853(p)   and Fed. R. crim. P. 32.2(e)(1).



                                                     John F. Bash
                                                     United States Attorney


                                       By:
                                                     JU,S'1<N'6llJNG
                                                        ictant United States Attorney
                                                     U.S. Attorney's Office, WDTX
                                                     601 NW Loop 410, Suite 600
                                                     San Antonio, Texas 78216


A TRUE BILL




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